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UNITED STATES DISTRICT COURT, SOUTHERN DISTRICT OF NEW
YORK (SDNY)

RE: JOHN PETEREC-TOLINO v PENNROSE LLC; et al.
CASE NO. 24-CV-06911 (JGK) (SDA)

Honorable: John G. Koeltl

United States District Court Justice REQUEST FOR STATUS
Honorable: Stuart D. Aaron OF SERVICE
United States District Court Magistrate Justice

500 Pearl Street, New York, N.Y. 10007

Courtroom 14-A

Dear Judge Koeltl & Magistrate Aaron, I, John Peterec-Tolino am the Plaintiff/
Petitioner in the above stated case. I write to ask this Honorable Court for status of
ordering the Court Clerk to providing Service of Summonses and the Second
Amended Verified Complaints to the US Marshals for process service upon the US
Fish & Wildlife Service and the US Department of the Interior (which

are at the same Washington D.C. address)

When I filed my Second Amended Verified Complaint (and thank-you judge
Koeltl for granting me such at the phone conference), back on Friday 14", 2025,
I also submitted and filed two (2) USM-285 US Marshals Process Receipt &
Return forms, one for the US Fish & Wildlife Service and the other for the US

Department of the Interior. I
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However, being the US Fish & Wildlife Service is a division within the US
Department of the Interior ( having that same Washington D.C. address),
only the US Fish & Wildlife Service is the new and added defendant as only
they can designate what is ‘critical habitat’ for an endangered species which

the Monarch Butterfly will soon be categorized as, any day now.

All defendants herein have agreed to delay the previous scheduling odor via

the January phone conference so-as the US Fish & Wildlife Service can become
a part of this case and its jurisdiction and to be conferred with. I hereby thank
each defendant for extending that courtesy and not to keep them waiting, I am
respectfully extending a pro-active approach so as to facilitate such as

expeditiously as possible.

March 12" Respectfully submitted,

2025 Eb. 2 asl ses?

John Peterec-Tolino, Plaintiff/Petitioner
244 Fifth Avenue, # J-292
New York, N.Y. 10001
otispdriftwood407@gmail.com, (917) 628-7300.

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UNITED STATES DISTRICT COURT, SOUTHERN DISTRICT OF NEW
YORK (S.D.N.Y.)

Re: John Peterec Tolino v Pennrose LLC; et al. Case No. 24-CV-6911 (JGK)
(SDA)

AFFIRMATION OF SERVICE

Plaintiff Pro Se Affirms that defendants were all served the attached Request For

Status of Service. All were served electronically at the following:
ntaylor@law.nyc.gov, dsegars(@law.nyc,gov,

KCooperman@cozen.com. james.bernard@hoganlovells.com,

KFisher@cozen.com, GEisenberg@perkinscoie.com, creo@law.nyc.gov,

daniel.whalen@hoganlovells.com, & lastly, Interior Press@ois.doi.gov on

Wednesday, March 12", 2025.

Respectfully Submitted,

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